Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 1 of 23 PageID #: 4443



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )       No. S1-4:16 CR 000159 AGF
                                              )
LOREN ALLEN COPP, a/k/a/ “Sensei,”            )
                                              )
       Defendant.                             )

                    GOVERNMENT=S SENTENCING MEMORANDUM

     Comes now the United States of America, by and through its attorneys, Jeffrey B. Jensen,

United States Attorney for the Eastern District of Missouri, and Jennifer A. Winfield, Assistant

United States Attorney for said District, and files its sentencing memorandum:

     On December 26, 2018, Defendant Loren Copp (“Copp”) was found guilty by this Honorable

Court on Counts One and Two: Production of Child Pornography in violation of Title 18 U.S.C.

Section 2251(a); Count Three: Attempted Production of Child Pornography in violation of Title

18 U.S.C. Section 2251(a); Count Four: Possession of Child Pornography in violation of Title 18

U.S.C. Section 2252(a)(5)(B); Counts Five and Six: Use of Interstate Facilities to Persuade,

Induce, Entice, or Coerce a Minor to Engage in Sexual Activity in violation of Title 18 U.S.C.

Section 2422 and Counts Eight and Nine: Use of Interstate Facilities to Transmit Information with

the Intent to Entice, Solicit or Encourage a Minor to Engage in Sexual Activity in violation of Title

18 U.S.C. Section 2425.

     The parties do not have an agreed upon sentencing recommendation.             The government

believes the defendant’s Total Offense Level is forty-three (43), which is a guideline sentence of

life in imprisonment. The Final Pre-Sentence Report (“PSR”) states that the Total Offense Level
                                                  1
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 2 of 23 PageID #: 4444



is 43, his criminal history level is I, and the guideline range is life. The government has weighed

the circumstances of this case, along with other similarly situated defendants in this district in the

past, and is therefore requesting the following sentences to be run consecutive to each other: Count

One: Production of Child Pornography (360 months); Count Two: Production of Child

Pornography (360 months); Count Three: Attempted Production of Child Pornography (360

months); Count Four: Possession of Child Pornography (240 months); Count Five: Use of

Interstate Facilities to Persuade, Induce, Entice, Coerce a Minor to Engage in Sexual Activity (240

months); Count Six: Use of Interstate Facilities to Persuade, Induce, Entice, Coerce a Minor to

Engage in Sexual Activity (240 months); Count Eight: Use of Interstate Facilities to Transmit

Information with the Intent to Entice, Solicit or Encourage a Minor to Engage in Sexual Activity

(60 months); Count Nine: Use of Interstate Facilities to Transmit Information with the Intent to

Entice, Solicit or Encourage a Minor to Engage in Sexual Activity (60 months). Thus, the

government respectfully requests that the Court sentence the defendant to an aggregate sentence

of 1,920 months (160 years) in prison.

       There were three identified minors who testified against Loren Copp – two of the girls he

raped on a consistent basis and Copp produced images of all three identified victims. There were

several other minor girls whose photos and videos Copp meticulously organized into folders on

computers, which had folders that contained child pornography files consistent with the sexually

exploitative images of the identified victims that Copp produced. Therefore, 160 years is the

appropriate number of years Copp should spend in prison – to provide just punishment, to protect

the community, and to give some measure of safety to his victims.




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Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 3 of 23 PageID #: 4445



       Copp is sexual predator who is deserving of a substantial sentence that will naturally

produce community safety for the longest period of time available, which is the remainder of his

natural life. His patterned actions in this case, his utter lack of remorse, his repeated efforts to

justify, deflect, explain away, and otherwise excuse his crimes, all prescribe a statutory maximum

sentence for each count to run consecutive. This is especially true given that all of the evidence

before the Court, which suggests Copp will not change; but instead will continue to present a

significant danger to the community. A 160-year sentence is therefore sufficient but not greater

than necessary to further the goals of sentencing. The government also requests a lifetime term of

supervised release.

A.   The Nature and Circumstances of the Offense

       The instant offenses stem from the defendant’s prolific sexual abuse of two named minor

victims, and his extensive communications with other minor girls (including the three named

victims) on Facebook under the alias name of “Chrissy.” Based on the records from Facebook,

which consisted of several thousand pages, the “Chrissy” Facebook page goes back to at least

December of 2013. The “Chrissy” Facebook page appeared to belong to a thirteen (13) year-old

female who lived in the China. However, this Facebook account was created by Copp to trick

and lure minor girls to chat with him and send him nude photographs.

       The defendant was found guilty of eight (8) separate crimes concerning three (3) separate

minor victims. Evidence at trial revealed that “Jane Doe 1” and “Jane Doe 3” went to live with

the defendant and his wife in south St. Louis County in 2009, while Copp serving as a minister at

a local church. (TR. Vol. VII at 54-55). Soon thereafter Copp would touch “Jane Doe 1’s” butt

when “Jane Doe 3” was not around and called it the “butt game.” (TR. Vol. II at 224). This

progressed to Copp touching “Jane Doe 1’s” breasts, butt, vaginal area, and eventually raping her.

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Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 4 of 23 PageID #: 4446



(TR. Vol. II at 223). “Jane Doe 1” was eleven years old when Copp first raped her. (TR. Vol. II

at 224). This occurred multiple times a week when Copp’s wife was not home. (TR. Vol. II at 224-

225). On one occasion, Copp’s wife came to the door of “Jane Doe 1’s” bedroom when Copp was

raping her. Following, Copp jumped up, went to the door, and told his wife he was just waking

up “Jane Doe 1.” (TR. Vol. II at 227).

       A short time afterward, an officer from the Division of Family Services came to the south

county house and asked “Jane Doe 1” if she was being sexually abused, and “Jane Doe 1” denied

the sexual abuse because she was afraid. (TR. Vol. II at 227). Shortly afterward, Copp moved

“Jane Doe 1” and “Jane Doe 3” to 4601 Morganford (“Dojo Pizza property”) in St. Louis City.

The Defendant was the only adult who lived with the children at this address full time. (TR. Vol.

II at 227-228). Also, while living at the Dojo Pizza property, Copp continued to sexually abuse

“Jane Doe 1,” and take sexually explicit pictures of “Jane Doe 1’s” vagina, breasts, and buttocks.

(TR. Vol. II at 229).

       At trial, “Jane Doe 3” testified that she was five years old when she first met the Defendant

Copp at church. (TR. Vol. IV at 88). She was living with her mother and siblings until she and

“Jane Doe 1” moved in with Copp and his wife. (TR. Vol. IV at 88-89). “Jane Doe 3” started to

feel uncomfortable around Copp when she was six years old. (TR. Vol. IV at 90). Copp would

play “butt tag” with the young girls and run around hitting their behinds. (TR. Vol. IV at 90). This

progressed into Copp touching “Jane Doe 3’s” vagina, fondling her nipples, and telling her to keep

it to herself. (TR. Vol. IV at 90). “Jane Doe 3” did not tell anyone about Copp’s sexual abuse

because she was nervous about being judged. (TR. Vol. IV at 91).

       When Copp’s wife was not home, Copp refused to let “Jane Doe 3” bath herself and

demanded that he wash her body. (TR. Vol. IV at 91). “Jane Doe 3” testified that Copp entered

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Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 5 of 23 PageID #: 4447



the tub with her, lifted her up and brushed his genitals against her. She got out of the tub and

maintained she could wash herself but Copp refused. (TR. Vol. IV at 91). After Copp took her out

of the bath, he put her in a towel, lay her on the master bed, and use petroleum jelly to force his

penis inside her. (TR. Vol. IV at 92). Copp also raped “Jane Doe 3” and recorded it. (TR. Vol. IV

at 92). “Jane Doe 3” identified the video camera Defendant used to record her. (TR. Vol. IV at

94).

       Eventually, Defendant moved “Jane Doe 3” and “Jane Doe 1” to the Dojo Pizza property.

The building was filled with office equipment for a school and church and the girls only had air

mattresses. (TR. Vol. IV at 95). Without Copp’s wife at the Dojo Pizza property, the sexual abuse

exponentially increased. “Jane Doe 3” testified to being raped more than three times a week by

Copp while at the Dojo Pizza property, which occurred in Copp’s bedroom as well as his office.

(TR. Vol. IV at 98-99). Copp also made “Jane Doe 3” watch sexually explicit movies with him in

his office on the desktop computer. (TR. Vol. IV at 149).

       At trial, “Jane Doe 5” testified she was in middle school when she first met Defendant in

2013. He would come to her school to do karate classes and sell pizzas. (TR. Vol. II at 178). At

that time, “Jane Doe 5” knew Defendant as “Sensei” and lived at home with her mother. (TR. Vol.

II at 178-179). “Jane Doe 5” was friends with some of the girls that lived at 4601 Morganford and

started visiting the Dojo and spending the night. (TR. Vol. II at 179). At some point, “Jane Doe

5’s” mother was arrested and taken to jail, and “Jane Doe 5” started spending more time at the

Dojo, eventually moving in permanently. (TR. Vol. II at 179-180).

       When “Jane Doe 5’s” mother was released from jail, she signed documents transferring

“Jane Doe 5’s” custody to Defendant. (TR. Vol. II at 181). Defendant became “Jane Doe 5’s”

guardian. While “Jane Doe 5” lived at 4601 Morganford, “Jane Doe 1” and “Jane Doe 3” lived

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Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 6 of 23 PageID #: 4448



there as well. (TR. Vol. II at 178-180). Eventually, “Jane Doe 2” and “Jane Doe 9” also moved

into the Dojo due to their mother’s drug problems. Defendant obtained custody of “Jane Doe 2”

and “Jane Doe 9.” (TR. Vol. II at 180-181). “Jane Doe 5” shared a room and bathroom with the

other girls. They all worked in the pizza restaurant at the Dojo and were homeschooled online.

(TR. Vol. II at 182). When friends came over, the girls played “booty tag,” with Copp, which was

the same as regular tag but involved touching each other’s behinds. (TR. Vol. II at 183).

          In addition, “Jane Doe 5” testified that on one occasion Copp purchased a douche for “Jane

Doe 5” to use to ensure that she did not have lice in her genital area. (TR. Vol. II at 98). The topic

of lice came up regarding “Jane Doe 5’s” genital area, after Copp (while posing as “Chrissy” on

Facebook), told “Jane Doe 3” that it appeared “Jane Doe 5” had lice in her genital area. (TR. Vol.

II at 149). Following, “Jane Doe 5” did not know how to use a douche so Copp offered to help

“Jane Doe 5.” While helping “Jane Doe 5” with the douche, Copp put his hands on her vagina and

attempted to insert the douche. (TR. Vol. II at 198-199). “Jane Doe 5” also disclosed that once,

when she had a stomach virus, she was lying in Copp’s bed and fell asleep watching television.

She awakened crying and with cramps, that is when she observed that Copp was lying awake, next

to her in the bed. Copp placed his hand on her bare abdomen, just above her genital area, and began

rubbing her abdomen. “Jane Doe 5” was uncomfortable with the situation so she lied and told

Copp that she had to go to the bathroom. She left his bedroom and did not return. 1 Lastly, during

trial all of the victims identified the photos of themselves in a lascivious display of their genitals,

as well as the video of the victims undressing at the church, which were all located on Copp’s

computers - Trial Exhibits 1, 2 and 3.




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    Child Advocacy Interview of “Jane Doe 5”
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Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 7 of 23 PageID #: 4449



           In summary, during trial Detective Stewart Deken with the Regional Computer Crime

Education and Enforcement Group (“RCCEEG”) testified concerning his examination of Trial

Exhibits 1 and 2, which were seized from Copp’s residence and contained numerous erotic and

sexually explicit pictures of various minor victims in this case, as well as other minor females.

First, on Trial Exhibit 2 Det. Deken located photos taken of a computer screen in the background,

which appeared to be sexually explicit images of an identified minor victim, as well as several

other pictures that depicted printed photos of the same child pornography with a penis and/or

semen on or near the photos. Det. Deken testified that all of the aforementioned photos were

emailed from two of Copp’s email addresses from a T-Mobile phone, and the systems indicated

that all of the emails were opened/read. 2

           At trial, Det. Deken also testified that he located two videos, which appeared to depict

unidentified females in a shower with a focus on the genital region of the females. These videos

appeared to have been taken from a hidden vantage point behind a screen or mesh of some kind,

and numerous still photos, which appeared to be screenshots of the aforementioned videos, were

all located on Copp’s computer - Trial Exhibit 2. The aforementioned shower area was located

in the residence shared by the victims and Copp.

           Det. Deken testified that he also found several documents and emails on Copp’s computer

Trial Exhibit 2, which appeared to be sexually coercive or deceptive and directed towards “Jane

Doe 1.” The emails were between an email address linked to defendant Copp and a Yahoo email

account for “L.Baker,” who a fictional school resource officer created by Copp. 3 Det. Deken

further testified that all of the aforementioned email messages were marked by the system as "read"



2
    Det. Deken’s testimony can be found in Trial Transcript (Vol. 4 and 5)
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    Trial Transcript (Vol. 2) pg. 65-69 and Doc. 216, Order, Findings and Conclusions pg 15-16
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Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 8 of 23 PageID #: 4450



and the majority of these emails were sent from the same IP address that was attached to several

emails from Copp’s email account.

        Additionally, Det. Deken testified that he located notes from Copp to “Jane Doe 1,” “Jane

Doe 3,” and “Jane Doe 5.” One specific note to “Jane Doe 1” referred to the victim as “My secrete

wife.” As referenced above, “MRCKA” was the author and last editor of the “My secrete wife”

document, and another document titled “May Pizza flyer 3. Pub.” That pizza flyer was a

menu/flyer for Dojo Pizza, which contained a misspelling of the same “secrete” word. Specifically,

Det. Deken testified that the May pizza flyer document read “Your mouth will love the taste of our

secrete sauce combined with our fabulous crust…..” In addition, a search for documents with

similar misspellings of "secret" (as "secrete") revealed two documents on Copp’s computer, which

contained similar spellings:

        •   I John 2 A.doc (located in the file path "Users/Loren/Documents/Clean desk top /I
            john")
        •   Revelation chl.ppt (located in the file path "Users/Loren/Documents/LOren/Loren's
            Folder/Sermons"

        Other documents located on Copp’s computer referenced Copp or were otherwise related

to Copp or his business, which included a Power of Attorney regarding “Jane Doe 5.” Det. Deken

further testified that on Trial Exhibit 2, he was able to locate several other identifiers for defendant

Copp, Dojo Pizza, and “MRCKA” including authorship or editing documents, email addresses and

Internet Explorer records.

        Next, Det. Deken testified that he examined a second computer - Trial Exhibit 1, which

also contained numerous erotic and sexually explicit pictures of various minor victims in this case

as identified by investigators. Det. Deken examined Trial Exhibit 1 and noted that the computer’s

name was “Loren-PC,” the OS registered owner was “Loren” and there was only one user created


                                                   8
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 9 of 23 PageID #: 4451



account on the system, which was “Loren” and a it had logon password of “majiryu.”

       Det. Deken also found two Microsoft Word documents on Copp’s second computer that

contained numerous images of child pornography imbedded in them, which showed that

“MRCKA” was the author and last editor. Det. Deken explained that one of the Microsoft Word

documents, which contained child sexually explicit images, was labeled "IT Hamster.docx," and

the second document was labeled “Doc1.docx.” In the same folder containing the aforementioned

sexually explicit documents, were other documents created around the same time entitled "lower

blood pressure.docx," "Pizza Fundraiser 8 25.docx," "Living Faith Christian Academy,"

"MRCKA's Dojo Pizza" and other documents bearing Copp’s name, numerous promotional

materials for Dojo Pizza, pay stubs, credit card bills and health insurance forms in Copp’s name,

as well as a fax cover sheet in which Copp was listed as the sending party. Lastly, Det. Deken

discovered a tax-exempt letter to Defendant for Ma-JiRyu Christian Karate Association, which

explains the prominence of the initials MRCKA and Ma-JiRyu 1. (TR. Vol. IV at 169).

       Next, Det. Deken testified that 14 of the 16 aforementioned "L. Baker" emails which were

found on Trial Exhibit 1, were the same “L.Baker” emails found on Trial Exhibit 2. Det. Deken

further testified that on Trial Exhibit 1, he located numerous photographs, which appeared to be

taken from the hidden shower vantage point as described above in Trial Exhibit 2. These files

found on Trial Exhibit 1 had identical names and hash values to many of the shower "snapshot"

files found on Trial Exhibit 2. In addition, he located evidence of Peer-to-Peer software, which

had been installed on the system and commonly used in the downloading amd sharing of child

pornography, and on Trial Exhibit 1, there were numerous files with names indicative of child

pornography. Officer Deken did not find any evidence that the dates and times of the files were

tampered with. (TR. Vol. V at 123).

                                               9
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 10 of 23 PageID #: 4452



           The Government also presented testimony of Detective Ken Nix with the Regional

Computer Crime Education and Enforcement Group (“RCCEEG”), concerning his examination of

a Trial Exhibit 3 seized from Copp’s residence, and contained numerous erotic and sexually

explicit pictures, as well as video of minor victims in this case as identified by investigators.

Detective Nix testified that he found the video described in Count Three of the indictment. 4

           There were also video still captures from two movies, which depict “Jane Doe 3” and “Jane

Doe 4” undressing and in a lascivious display of their genitals. Det. Nix further testified that he

discovered multiple thumbnail pictures which displayed “Jane Doe 1,” “Jane Doe 3” and “Jane

Doe 4,” dressing and undressing and showing their breasts, as well as several pictures of an adult

male having sex with what appears to be a minor female. These items were in subfolders within

the My Pictures folder in the file path “Pictures/karate camp.” Det. Nix also testified that there

was a document titled “Custody letter_August 2007” purported to be made by Copp. During his

analysis of the aforementioned files, Det. Nix discovered that the file names were changed and

titled with the versions of “Jane Doe 1” and “Jane Doe 4” names.

           Det. Nix also discovered that Copp was the registered user for the operating system on this

hard drive. (TR. Vol. IV at 39). Det. Nix also testified that the information within the file could

not be altered by manipulating the bios dates and clocks. (TR. Vol. IV at 54). Additionally, the

bios clocks could not be manipulated remotely. (TR. Vol. IV at 59). There was also no evidence

that the operating system was accessed remotely. (TR. Vol. V at 58).

           Investigator Donya Jackson of the United States Attorney’s Office for the Eastern District

of Missouri, testified at trial regarding her review and analysis of the contents on Trial Exhibits

1, 2 and 3. Investigator Jackson also reviewed and assessed the video and images of child


4
    Det. Nix’s testimony can be found in Trial Transcript (Vol. 4) pg. 1-40
                                                           10
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 11 of 23 PageID #: 4453



pornography described in and charged in the Indictment. During trial Investigator Jackson testified

that she also discovered a Facebook account utilized by Copp, which purported to be used by a 13
                                    5
year-old named “Chrissy.”

           Investigator Jackson testified that the “Chrissy” Facebook account depicted a facial image

of a minor female with dark hair and green background for the profile picture, and a Facebook

picture ID which were located in the: Users\Loren\pictures\ folder on Copp’s computer - Trial

Exhibits 1. Investigator Jackson also testified that her review of the “Chrissy” Facebook account

revealed that most of the child sexually explicit images received by “Chrissy’s” Facebook account

(which included numerous sexually explicit images of the victims), were saved to Copp’s

computer media with the same Facebook picture ID numbers linked to the same images received

by “Chrissy.” Investigator Jackson testified that Facebook records show that “Jane Doe 1,” “Jane

Doe 3” and “Jane Doe 5” were Facebook messaging with “Chrissy” and sending lewd and

lascivious images at the request of Copp posing as “Chrissy.” In addition, in the aforementioned

Facebook chats: (1) “Chrissy” refers to defendant Copp as “grandpa” or “gp,” and in total,

“grandpa” or “gp” is referred to numerous times throughout the Facebook messages.

           Investigator Jackson testified that during her review of the Facebook account, in several

instances where “Chrissy” asked for lewd and lascivious pictures of the aforementioned “Jane

Does,” the IP address that “Chrissy” was using to access the internet was the same IP address used

by the “Jane Does.” Thus, this meant that both parties were located at the same physical address

and using the same internet service. Investigator Jackson also testified that the aforementioned IP

address was also found in the forensic exam of Copp’s computers, and multiple times this IP

address was found in relation to emails sent by Copp’s email account and other noted evidence


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    Investigator Jackson’s testimony can be found in Trial Transcript (Vol. 2, 3 and 7)
                                                           11
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 12 of 23 PageID #: 4454



establishing that the IP address was assigned and used by defendant Copp as the means to access

the internet at the Dojo Pizza residence.

       Investigator Jackson further testified regarding an identified image depicting “Jane Doe 5”

in a lascivious display of her genitals, and how this same image appeared to have been viewed on

a black laptop computer screen by an adult male holding his erect penis in front of the computer.

The focal point of the aforementioned picture is the tip of the penis as it lines up with “Jane Doe

5’s” vagina. Investigator Jackson explained that the new image, depicting “Jane Doe 5” and the

male penis, was taken and saved on Copp's computer.

       Investigator Jackson went on to testify that during the Facebook chats “Chrissy” directed

“Jane Doe 1,” “Jane Doe 3” and “Jane Doe 5” to take naked pictures, and these images were all

saved on Copp’s Trial Exhibit 1. Additionally, the background in the aforementioned pictures of

the “Jane Does” match the background of rooms located in the Dojo Pizza property. Investigator

Jackson also testified regarding her analysis of Copp’s computer media and the “Chrissy”

Facebook account, where she assessed several emails purportedly to be from a School official

named “L. Baker” (as described above).        Investigator Jackson testified that “Jane Doe 1”

mentioned “L. Baker” three times to “Chrissy” throughout the Facebook messages.

       Additionally, there was a Facebook chat where “Jane Doe 1” confronted the “Chrissy”

profile, regarding “Jane Doe 1’s” belief that “Chrissy” was actually defendant Copp, because “Jane

Doe 1” heard Copp’s computer device alerting when their Facebook messages were received.

Even further, there was evidence presented that the subscriber information and backup emails used

for the “Chrissy” Facebook account, as well as the “L.Baker” email account are both linked to

Copp. Investigator Jackson also testified regarding Facebook chats between “Chrissy” and other

minor females who are “friends” with “Jane Doe 1,” “Jane Doe 3” or “Jane Doe 5.” In some of

                                                12
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 13 of 23 PageID #: 4455



these chats, “Chrissy” persuaded one minor to date “grandpa” (Copp), and persuaded another

minor to take naked pictures of herself and friends and send them to “Chrissy.”

       The Facebook records show that there were many more girls that Copp attempted to

deceive, where he was successful in enticing the girls to send nude photos, such as “Jane Doe 8.”

Also during her testimony, Investigator Jackson discussed a “series” of pictures discovered on

Copp’s computers, which depict “Jane Doe 1” in a lascivious display of her genitals located within

“Jane Doe 1’s” bedroom at Copp’s South County residence. She also discussed another “series”

of sexually explicit images depicting “Jane Doe 3” and “Jane Doe 5.” Investigator Jackson further

testified that on Trial Exhibit 1, she analyzed and compared numerous files with names indicative

of child pornography, as outlined in previous government filings.

       In conclusion, Copp has sexually abused at least two known victims and victimized or

attempted to victimize other minors online and therefore he should be sentenced to 160 years in

prison for these criminal acts.

B.     History and Characteristics of the Defendant

     Here, the defendant committed numerous crimes against children and, as the case is charged,

the defendant’s Total Offense Level for these crimes is not even listed in the guidelines. Per

paragraphs 71-73 of the PSR,

       “The defendant engaged in a pattern of activity involving prohibited sexual
       conduct, and the defendant is a repeat and dangerous sex offender against minors,
       so the applicable offense level is 55. Therefore, as level 55 is in excess of 43, the
       offense level has to be treated as a level 43.”

Therefore, the government believes that a sentence of 160 years in prison adequately reflects the

seriousness of the offense provides just punishment for the offense.            In making a fair

recommendation to the Court, the government has considered all of the evidence in this case.


                                                13
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 14 of 23 PageID #: 4456



       Even further, Copp continues to deny his culpability in this offense, and even filed alleged

letters of support from various community members that are all dated in 2015, before he was even

charged and convicted of the instant offenses. This is just another example of how defendant Copp

always attempts to manipulate people and embellish situations in order to portray himself in a

positive light when he well knows that he systematically destroyed the lives of multiple children

and families.

C.     Reflect the Seriousness of the Offense, to Promote Respect for the Law, and to
       Provide Just Punishment for the Offense

       Enticing and producing the sexual abuse of children is a serious offense and the guidelines

reflect the seriousness of the crime. The defendant possessed and produced numerous images of

child pornography. These images depicted minor female children engaged in lascivious displays

of their genitals that were sent to the defendant via Facebook Messenger at the defendant’s request

and sometimes even at his specific direction. As discussed in more detail above, the defendant

spent weeks and months grooming these children to send these images of child pornography to

him and then stored images of them on his computers. Additionally, he systematically sexually

abused two of the victims over multiple years.

       Due to the extensive number of victims the defendant preyed upon and the nature of the

images the defendant possessed, the government believes imprisonment of 160 years is

appropriate in this case.

D.     To Afford Adequate Deterrence to Criminal Conduct and To Protect the Public from
       Further Crimes of the Defendant

       Reasonable yet firm sentences are necessary in these cases to prevent further sexual abuse

and to reduce or eliminate the market for child pornography and to protect children from becoming

victims to feed that market. As this Court is aware, and as is reflected in the number of cases

                                                 14
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 15 of 23 PageID #: 4457



occurring throughout this country, the number of child pornography cases has increased

significantly over the last several years. Firm prison sentences are necessary to deter the

producing, viewing, possessing, collecting, and trading of child pornography.

         Nelson Mandela has said that, “There can be no keener revelation of a society’s soul than

the way in which it treats its children.” United States vs. Cunningham, 680 F.Supp.2d 844

(N.D.Ohio, 2010). In referring to this quote, one federal court noted, “Given the recent statistics

surrounding child pornography, we are living in a country that has lost its soul.” Id. The public is

abhorred by the thought of someone watching children being raped by adults, as well as adults

raping children, which is what Copp did in this case. 6 Yet, when these cases come before the

Court, invariably there appear to be attempts to downplay the conduct by claiming the defendant

was just “looking at images” that the internet made so easy to find.

         Furthermore, Copp’s attempt to lay the blame on St. Louis Metropolitan Police Department

Detective Keaton Strong as the catalyst for the child pornography that Copp produced at his south

county home and the Dojo Pizza property is absolutely ludicrous. According to the defendant,

everyone is to blame for these crimes, except him.           As such, the Government objects to any

downward variance. The crimes that the Defendant was convicted of are crimes of violence, and

should be treated as such.

         Defendant knowingly created and possessed numerous images of child pornography. These

images in the defendant’s collection depict child sexual abuse including images of children being

raped, and the defendant sexually abused and raped children over several years. Therefore, a

guideline sentence is appropriate in this case.




6
    See Trial Exhibits (inclusive) 71-79 and 134-138.
                                                        15
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 16 of 23 PageID #: 4458



       The goal of sentencing is to “‘impose a sentence sufficient but not greater than necessary’

to reflect the seriousness of the offense, promote respect for the law, and provide just punishment;

to afford adequate deterrence; to protect the public; and to provide the defendant with needed . .

. correctional treatment.” United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008) (quoting 18

U.S.C. § 3553(a)). The Court considers the “the nature and circumstances of the offense and the

history and characteristics of the defendant,” “the need for the sentence imposed,” “the kinds of

sentences available,” the applicable sentencing guideline range, any pertinent policy statement,

sentences imposed on other similarly situated defendants, and the need for victim restitution. 18

U.S.C. § 3553(a).

  i.   The Court Can Take Into Account Relevant Conduct For Sentencing

       The Court is well within its discretion to sentence the defendant to a sentence at the top of

the guidelines applicable to the counts of conviction, taking into account all evidence. Just because

the Court acquitted Copp on Count VII, does not mean that the government has not met its burden

for sentencing. The Court has a different role at sentencing when compared to the finding of guilt

stage. The Court heard evidence during trial that established the counts of conviction, and the

Court is well within the bounds of its discretion to take into account relevant conduct – and to take

into account the complete picture of the conduct presented to the Court during trial – in determining

the proper guidelines calculation and ultimate sentence to impose. United States v. Lasley, 832

F.3d 910 (8th Cir. 2016)(holding that “a jury’s acquittal establishes only that the government failed

to prove an essential element beyond a reasonable doubt, and a sentencing court may consider the

conduct underlying an acquitted charge if the conduct is proved by a preponderance of the

evidence”); United States v. Martin, 777 F. 3d 984, 997 (8th Cir. 2015)(noting that the Eighth

Circuit has repeatedly held that due process never requires applying more than a preponderance of

                                                 16
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 17 of 23 PageID #: 4459



the evidence standard for finding sentencing facts, “even where the fact-finding has an extremely

disproportionate impact on the defendant’s advisory guidelines [sentencing] range”); United States

v. Maxwell, 778 F.3d 719, 737 (8th Cir. 2015)(holding that “due to differing burdens of proof at

trial and sentencing, district court may consider facts underlying an acquitted count that it finds to

be sufficiently reliable”).

        Additionally, in determining the relevant facts, sentencing judges are not restricted to

information that would be admissible at trial. See 18 U.S.C. 3661; see also United States v. Watts,

519 U.S. 148, 154 (1997) (holding that lower evidentiary standard at sentencing permits sentencing

court's consideration of acquitted conduct); Witte v. United States, 515 U.S. 389, 399-401 (1995)

(noting that sentencing courts have traditionally considered wide range of information without the

procedural protections of a criminal trial, including information concerning criminal conduct that

may be the subject of a subsequent prosecution); Nichols v. United States, 511 U.S. 738, 747-48

(1994) (noting that district courts have traditionally considered defendant's prior criminal conduct

even when the conduct did not result in a conviction).

        Thus, as noted above, the district court at sentencing evaluates the facts by viewing a wide

variety of reliable information using a preponderance of evidence standard. United States v.

McKanry, 628 F. 3d 1010, 1020 (8th Cir. 2011), quoting, United States v. Tyndall, 521 F.3d 877,

883 (8th Cir.2008) (“[A] district court may use a defendant's relevant conduct in sentencing if it

finds by a preponderance of the evidence that the conduct occurred, even if that conduct formed

the basis of a criminal charge on which a jury acquitted the defendant.”). Accordingly, “it is

appropriate for the district court to consider facts underlying an acquittal when those facts appear

to be sufficiently reliable and the government need not prove such facts beyond a reasonable

doubt.” Id. Uncharged, dismissed, and acquitted conduct may properly be considered “relevant

                                                 17
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 18 of 23 PageID #: 4460



conduct” for sentencing purposes, and certainly may be taken into account in terms of the Court’s

findings under 18 U.S.C. § 3553(a). United States v. Putra, 117 S. Ct. 633 (1997)(“a jury's verdict

of acquittal does not prevent the sentencing court from considering conduct underlying the

acquitted charge, so long as that conduct has been proved by a preponderance of the evidence”).

       At this juncture, considering the relevant factors, a sentence of 160 years imprisonment

followed by a term of life on supervised release is the only thing that can provide deterrence and

protect the community from Copp, who still refuses to accept that he destroyed the lives of these

young girls. A lengthy sentence is the only thing that can impress upon Copp that this criminal

behavior is not tolerated in society and assure a measure of safety to the community. A statutory

maximum sentence is sufficient, but not greater than necessary, to reflect the seriousness of the

offense, promote respect for the law, provide just punishment for the offense, afford adequate

deterrence, and to protect the public.

       In addition, the plain language of U.S.S.G. § 5G1.2(d) allows consecutive terms so long

as the “total punishment” as determined by the adjusted combined offense level is not exceeded.

Specifically, “§5G1.2(d) of the guidelines requires that if the maximum sentence allowed under

any one count does not reach the total punishment as calculated under the guidelines, the district

court must impose consecutive sentences on the multiple counts until it reaches a sentence equal

to the total punishment calculation under the guidelines. This is permissible, because imposing

consecutive sentences on multiple counts does not violate Apprendi when the sentence for each

count does not violate the statutory maximum for that count. United States v. Diaz, 296 F.3d 680,

684 (8th Cir.2002). Moreover, in order to avoid unwarranted sentencing disparities, it would also

be appropriate to sentence the defendant in line with sentences for defendants convicted of

engaging in similar conduct.

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Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 19 of 23 PageID #: 4461



        For example, in United States v. Thomas Goodman, following a guilty plea by the

defendant to eight counts of production for three victims and one count of possession of child

pornography, a court sentenced Goodman to 260-years (3,120 months). 7 This sentence was

reached by imposing the statutory maximum sentence of 30 years on each of the eight counts of

production and the statutory maximum sentence of 20 years on the single count of possession to

run consecutive. In addition, in Goodman, the district court accurately described the behavior in

creating child pornography as a “level of depravity [that] is beyond comprehension.” 8

        Here, similarly, Copp’s actions have gone well beyond the possession of child

pornography and exhibit a level of depravity that defies comprehension. Copp has taken the next

egregious step and created new child exploitative material. He then preserved and organized his

collection, to be referred to at his convenience. He has thus caused the charged victims, as well

as those who have not yet been identified, to wonder when someone looks at them for a second

too long, or seems to smile knowingly, whether that person has seen the images documenting

Copp’s sexual exploitation. These victims have had to live with the knowledge that Copp

perpetrated these crimes against them at their most vulnerable moments, and he received

enjoyment from those images. He has not only robbed the victims of their innocence, but also

permanently deprived them of a sense of security.

      In addition, the government has weighed the circumstances of this case, along with other

similarly situated defendants in the past who were sentenced in this district, as outlined below:




7
  United States v. Goodman, No. 18-141-JJM (D.R.I. Dec. 4, 2018)
8
  Rhode Island Man Gets 260 Years for Making Child Porn, available at https://www.usnews.com/news/best-
states/rhode-island/articles/2019-03-22/rhode-island-man-gets-260-years-for-making-child-porn; see also Rhode
Island man sentenced to 260 years in federal prison in ICE HSI Boston child exploitation case, available at
https://www.ice.gov/news/releases/rhode-island-man-sentenced-260-years-federal-prison-ice-hsi-boston-child-
exploitation.
                                                       19
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 20 of 23 PageID #: 4462



 Defendant Name       Case Number              Sentence    Charges                Trial/Plea
 Devlin, Michael      4:07-CR-00143 JCH        2010 months Production - CP        Guilty Plea
                                                           Transport of a         (4 counts)
                                                           Minor
 Parsons, Gregory     4:08-CR-00518 CDP        720 months Production – CP         Guilty Plea
                                                                                  (2 counts)

 Greenwell,           4:09-CR-00757 CAS        1200 months Production - CP        Guilty Plea
 Jeffrey                                                                          (5 counts)

 Martin,   Michael 4:09-CR-00760 JCH           1440 months Production - CP        Guilty Plea
 Paul                                                      Possession – CP        (5 counts)
                                                           Receipt CP
 Beasley, Leland      4:10-CR-00119 CEJ        3480 months Production - CP        Jury Trial
                                                           Attempt Prod.          (12 counts)

 Bleckler, Donald     4:11-CR-00374 RWS 660 months             Production - CP    Guilty Plea
                                                               Possession - CP    (4 counts)

 Gravenmier, Jack     4:12-CR-00464 JAR        600 months      Production - CP    Guilty Plea
                                                               Possession - CP    (3 counts)

 Smith,        Jody 4:13-CR-00476 HEA          720 months      Production - CP    Guilty Plea
 Eugene                                                        Attempt Prod.      (4 counts)
                                                               Receipt - CP
                                                               Transportation

       In addition, unlike Goodman, Devlin, Parsons, Greenwell, Martin, Bleckler, Gravenmier

and Smith, who readily admitted their guilt and accepted their punishment, Copp continues to

obfuscate and attempt to detract from his undeniable guilt. Copp’s “smug” arrogance caused three

girls to be re-victimized repeatedly when having to re-live and recount their sexual assaults at his

hands, while Copp questioned them during trial which took place in a an open courtroom.

Although Goodman’s victims were younger, Goodman’s actions amounted to molestation and

sexual contact rather than sexual penetration and rape. Copp forcibly raped two girls and used

deception to groom others into “willingly” providing sexually explicit images to him while posing

as “Chrissy.” Copp is exponentially worse than a typical child molester who feels no level of guilt

                                                 20
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 21 of 23 PageID #: 4463



for the unquestionable depravity in which he engages. Copp takes sick joy and pleasure from

forcing his victims to testify, demonstrating “his desire to remain in control of his victims.”

       Accordingly, the government’s request for a 160-year sentence for Copp’s convictions is

consistent with the sentences imposed on similarly situated defendants in this district and across

the country, and it is substantively reasonable and warranted. A sentence of 160 years serves a

strong deterrent purpose to Copp and other pedophiles and child rapists like him who believe they

can “remain in control” by watching their victims reliving the worst horrors of their lives.

       Furthermore, it is important for this Court to consider Copp’s repeated refusal to admit

any wrongdoing and accept responsibility for his actions. Notwithstanding the overwhelming

testimonial and forensic evidence facing Copp, he has refused to admit the truth. To be clear, the

government is not asking for a trial tax, or for the Court to punish Copp exercising his

constitutional rights to a trial. However, exercising a constitutional right is very different than

pushing forward a factually unsupported and frivolous defense to distract from guilt. Copp

refused to admit the logical legal implications of his own criminal activity and proceeded to trial,

requiring the victims to testify about their graphic victimization in a room filled with strangers,

people they met in the days before trial, this Honorable Court, and Copp. Even further, Copp’s

attempt at trial to claim that the forensic evidence was somehow manufactured or altered and

planted by other people is nothing more than a delusion of grandeur. Consequently, of course,

this Court flatly rejected all of Copp’s factually unsupportable defenses.

       Here, Copp’s refusal to accept responsibility up to the present day, even in light of what

is painfully obvious to any reasonable observer of the trial proceedings, should be considered by

this Court with great concern. In light of Copp’s obstinate refusal to acknowledge his crimes and

accept responsibility, this Court can have no assurance that anything other than a period of

                                                 21
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 22 of 23 PageID #: 4464



incarceration spanning Copp’s natural life will deter him from re-committing the offenses for

which he has been found guilty. Lastly, sentencing Copp to 160 years will avoid sentencing

disparities and will impose a sufficient but not greater than necessary sentence.

D.     Supervised Release

       The government maintains that Copp should be ordered to serve a lifetime term of

supervised release as to Counts One thru Six, and a three year term of supervised release on

Counts Eight and Nine. If the Court imposes the government’s requested sentence, it is unlikely

that Copp will serve any term of supervision. However, the egregiousness and escalation of

Copp’s conduct warrants the maximum term of supervision as a matter of fact and principle. The

facts of this case strongly suggest that Copp’s rehabilitation, success, and any likelihood to re-

offend will be reduced if he remains accountable for his rehabilitation under supervision.

                                            Conclusion

       The Government is requesting that the Court sentence the defendant to 1,920 months (160

years) in prison to be followed by a lifetime of supervised release.

                                              Respectfully submitted,

                                              JEFFREY B. JENSEN
                                              United States Attorney

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                                                22
Case: 4:16-cr-00159-AGF Doc. #: 275 Filed: 12/10/19 Page: 23 of 23 PageID #: 4465



                               CERTIFICATE OF SERVICE

       I hereby certify that on December 10, 2019, the attached was filed electronically with the

Clerk of the Court and served by way of this Court's Electronic Notification System upon all

counsel of record, and mailed to Loren Copp at the St. Charles County Adult Detention Center,

301 N. Second Street, St. Charles, MO 63301.

                                            s/ Jennifer A. Winfield
                                            JENNIFER A. WINFIELD, 53350MO
                                            Assistant United States Attorney




                                               23
